                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

                                               No. 1:24-cr-10090-WGY
    v.

WALTER NORTON

     Defendant


                             NOTICE OF APPEARANCE

    Please enter the appearance of Evan D. Panich as counsel for the United States of America.



                                         Respectfully submitted,

                                         LEAH B. FOLEY
                                         United States Attorney


                                 By:     /s/ Evan D. Panich
                                         EVAN D. PANICH
                                         Assistant United States Attorney
                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants .

                                              /s/ Evan D. Panich
                                              Assistant United States Attorney




Date: February 11, 2025




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